            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
     v.                             )    Criminal Action No.
                                    )    10-00320-14-CR-W-DGK
RAFAEL ZAMORA,                      )
                                    )
                  Defendant.        )

                  REPORT AND RECOMMENDATION TO DENY
               DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

     Before the court is defendant’s motion to suppress evidence

seized during his arrest on November 19, 2010, and statements

made by defendant during his arrest and subsequently after having

been advised of his Miranda rights on the grounds that (1) police

unlawfully entered defendant’s home after he was taken into

custody, (2) he was interrogated without having been advised of

his Miranda rights, (3) his statement was involuntary, (4) the

consent to search his home was involuntary, and (5) the statement

he gave after he was advised of his Miranda rights was the fruit

of earlier constitutional violations.         I find that defendant’s

Constitutional rights were not violated and therefore, his motion

to suppress should be denied.

I.   BACKGROUND

     On November 18, 2010, an indictment was returned charging

defendant with one count of conspiracy to distribute cocaine,

crack cocaine, and marijuana, in violation of 21 U.S.C. § 846,




     Case 4:10-cr-00320-DGK    Document 333   Filed 09/19/11   Page 1 of 16
and one count of conspiracy to commit money laundering, in

violation of 18 U.S.C. § 1956(a)(1)(A)(1).          The indictment also

includes a criminal forfeiture count listing a silver/grey 2005

Chevrolet Avalanche bearing Missouri license 5SN463 registered to

defendant Zamora.

     On November 19, 2010 -- the day after the indictment was

returned and an arrest warrant was issued -- police went to

defendant’s residence to execute the arrest warrant.              Defendant

answered the door in a T-shirt, came out onto the porch, and was

handcuffed.   As he and his arresting officer were walking back

into the residence due to the cold weather, defendant was advised

that he was being arrested on a charge of conspiracy to

distribute marijuana.    He voluntarily stated, as he and the agent

were walking into the house, that he had some stuff under the

basement steps that the officers could retrieve.              Agents found

marijuana under defendant’s basement steps.          Defendant was

transported to police headquarters, advised of his Miranda

rights, and made an incriminating statement.

     On June 14, 2011, defendant filed the instant motion to

suppress (document number 251).         On June 22, 2011, the government

filed a response (document number 263) arguing that defendant

volunteered that he had “stuff” in his house and that the

officers could go in and get it, there is no evidence that

defendant’s statement was involuntary, there is no evidence that


                                    2


    Case 4:10-cr-00320-DGK   Document 333    Filed 09/19/11    Page 2 of 16
his consent were involuntary, and defendant’s subsequent

statement at the police department was made after he voluntarily

waived his Miranda rights.

      On July 27, 2011, I held a hearing on defendant’s motion.

The government appeared by Assistant United States Attorney Bruce

Rhoades.    The defendant was present, represented by Eugene

Harrison.    The following witnesses testified:

      1.    Special Agent Christopher Kline, Drug Enforcement
            Administration

      2.    Dennis Conway, Private Investigator1

      In addition, the following exhibits were admitted:

      P. Ex. 1            Miranda waiver form

      P. Ex. 2            Report describing defendant’s statement

      D. Ex. Z-19 PIC     Photograph of bag of marijuana seized from
                          defendant’s residence

      D. Ex. Z-LAB        Lab report

      On July 28, 2011, the government provided additional legal

authority to supplement its response:         United States v. Paul

Riesselman, 646 F.3d 1072 (8th Cir. 2011).

II.   EVIDENCE

      On the basis of the evidence presented at the suppression

hearing, I submit the following findings of fact:

      1
      Defendant offered the expert testimony of Dennis Conway
regarding the marijuana, i.e., whether, once the stems and seeds
were removed, it would actually be a user quantity rather than a
distribution quantity. The government’s objection to the
testimony as irrelevant was sustained.

                                       3


      Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 3 of 16
     1.   On November 19, 2010, seven law enforcement officers

from the Drug Enforcement Administration (“DEA”); Kansas City,

Missouri, Police Department; and United States Marshal’s Office

gathered to execute an arrest warrant for defendant Rafael Zamora

at 2908 Holly in Kansas City, Missouri (Tr. at 5, 22, 24).              The

arrest warrant included defendant’s identifying information, and

the officers had a picture of him as well (Tr. at 6).

     2.   The officers arrived at 2908 Holly at 6:00 a.m., and

two of them went to the sides or back of the house while DEA

Special Agents Tim McCue and Christopher Kline, Deputy Marshal

Bryan Cutler, and Detectives Vern Huth and Jim Svoboda went to

the front door (Tr. at 5-6, 22-23).         It was still dark outside

(Tr. at 6-7, 24).    The officers at the front door were wearing

jeans, sweatshirts, and bulletproof vests with police indicia

(Tr. at 7).   They did not have their guns drawn (Tr. at 7, 23).

One of the officers knocked on the door (Tr. at 7, 24).

Defendant Rafael Zamora answered the door (Tr. at 7-8, 24).                  Due

to his clothing (a T-shirt and boxer shorts), defendant appeared

to the officers to have just gotten out of bed (Tr. at 8).

     3.   The officers asked defendant to step outside, which he

did (Tr. at 8).   They placed him in handcuffs, but then walked

back inside the house because it was cold outside and defendant

was not wearing much clothing (Tr. at 8, 24).           Defendant did not




                                    4


    Case 4:10-cr-00320-DGK   Document 333    Filed 09/19/11   Page 4 of 16
appear to be armed; he was not confrontational or uncooperative

(Tr. at 8).

       4.    As they were stepping back into the house, Special

Agent Kline told defendant he was being arrested on a warrant for

distribution of marijuana (Tr. at 9, 28).           Special Agent Kline

did not ask defendant any questions (Tr. at 9).             Defendant said

he had some “stuff” under the basement steps and that the

officers could go get it (Tr. at 9, 29, 61).            The statement was

unsolicited (Tr. at 9, 29).         Defendant said the stuff would be in

a white plastic grocery bag (Tr. at 10, 29).            Special Agent Kline

assumed defendant meant drugs when he referred to “stuff” (Tr. at

62).

       5.    Someone conducted a security sweep2 of the residence,

finding only defendant’s wife and children (Tr. at 42, 62).

Special Agents McCue and Kline walked through the living room and

kitchen, turned the basement light on, and then went down the

steps to retrieve the grocery bag (Tr. at 11).             From under the

basement steps, they recovered a white plastic grocery bag

containing a green leafy substance that appeared to be marijuana

(Tr. at 11).      The two agents then came back up the stairs and put

the bag on the kitchen table (Tr. at 11-12).




       2
      Special Agent Kline testified that he does not recall
anyone performing a protective sweep but that it would be
standard procedure for one to have been done (Tr. at 64),

                                       5


       Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 5 of 16
     6.   Because defendant’s vehicle was being seized pursuant

to the criminal forfeiture count in the indictment, it needed to

be cleaned out (Tr. at 12).      Two officers were cleaning out the

vehicle while others were trying to get clothes for defendant to

wear (Tr. at 12).    Other officers were trying to fill out the

background information on a DEA form while they were sitting in

the kitchen (Tr. at 12).     Special Agent Kline, Detective Svoboda

and Detective Huth were the only ones who had come into the house

(Tr. at 37).

     7.   Defendant was then transported to Kansas City Police

Department Headquarters by Detective Huth (Tr. at 13, 36-37).

Special Agent Kline left the scene and went to execute another

arrest warrant somewhere else (Tr. at 40).         After that warrant

had been executed, he went to the Kansas City Police Headquarters

to interview defendant Zamora (Tr. at 40).

     8.   At 8:00 a.m. that same day, defendant was presented

with a Miranda waiver form which was read to him (Tr. at 17).               In

addition, he read the following paragraph out loud:

     Before being asked any questions, I have been told of my
     right to remain silent, that anything I say can and will be
     used against me in court, that I have the right to talk with
     a lawyer and to have the lawyer with me during questioning.
     I have been told that if I cannot afford a lawyer that one
     will be appointed for me, at no cost to me, before I am
     questioned. I have also been told that I can stop talking
     at any time.

     I understand all of these rights and I am willing to talk to
     you.


                                    6


    Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 6 of 16
(Tr. at 17, 20-21, 63; P. Ex. 1).       Defendant appeared to

understand the rights that were read to him (Tr. at 20).               The

waiver form was completed and signed by defendant before any

questioning began (Tr. at 18).

     9.    While defendant was being interviewed, Special Agent

Kline and Detective Svoboda took notes (Tr. at 19).              Special

Agent Kline’s report was generated using those interview notes

(Tr. at 19).   Defendant said that he bought marijuana for $600

and resold it for $625 (Tr. at 52).         When defendant was shown a

picture of co-defendant Juan Marron and asked about him,

defendant got angry and asked for an attorney (Tr. at 68).               The

interview, which had lasted approximately 30 to 40 minutes by

then, stopped (Tr. at 64).

     10.   At no time did anyone do anything that was intimidating

or coercive (Tr. at 20).     Defendant appeared to Special Agent

Kline to be voluntarily talking to him after having been advised

of his rights (Tr. at 21).     Special Agent Kline never heard

anyone tell defendant he should think about his kids or that he

could help himself if he cooperated (Tr. at 45).              No search was

done of the residence other than the security sweep and the

retrieval of the plastic bag from under the basement steps at the

direction of defendant (Tr. at 62).




                                    7


    Case 4:10-cr-00320-DGK   Document 333    Filed 09/19/11    Page 7 of 16
III. ENTRY INTO DEFENDANT’S RESIDENCE AND FRUITS DOCTRINE

     Defendant argues that the entry into his residence was

unlawful.   Defendant offers no legal authority in support.

     Even assuming the entry into defendant’s residence was not

legal, there is nothing to suppress as a result of it.            Defendant

claims that police illegally entered his house, interrogated him

without advising him of his Miranda rights, and coerced him into

granting permission to search his house.        However, the evidence

presented at the hearing is markedly different from this

scenario.   The uncontroverted evidence is that defendant came to

do the door, he stepped outside, he was arrested pursuant to a

warrant, and as he and Special Agent Kline were walking back into

the house due to the cold (remembering that defendant was wearing

a T-shirt and boxer shorts), Special Agent Kline informed

defendant he was being arrested for selling marijuana and

defendant volunteered that there was some under his basement

stairs that the officers could go get.

     “The essence of a provision forbidding the acquisition of

evidence in a certain way is that not merely evidence so acquired

shall not be used before the Court but that it shall not be used

at all.   Of course this does not mean that the facts thus

obtained become sacred and inaccessible.        If knowledge of them is

gained from an independent source they may be proved like any

others, but the knowledge gained by the Government’s own wrong


                                    8


    Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 8 of 16
cannot be used by it in the way proposed.”            Silverthorne Lumber

Company v. United States, 251 U.S. 385, 392 (1920) (emphasis

added).     “The exclusionary rule has traditionally barred from

trial physical, tangible materials obtained either during or as a

direct result of an unlawful invasion.”           Wong Sun v. United

States, 371 U.S. 471, 485 (1963) (emphasis added).

       Defendant’s statement that he had marijuana under his

basement steps was not obtained by police “during or as a direct

result of” the entry into the house.           The bag of marijuana itself

was not obtained by police “during or as a direct result of” the

entry into the house.       The purpose of the exclusionary rule --

deterring police misconduct -- is not served when the police

action “although erroneous, was not undertaken in an effort to

benefit the police at the expense of the suspect’s protected

rights.” United States v. Faulkner, 636 F.3d 1009, 1016 (8th Cir.

2011), quoting United States v. Simpson, 439 F.3d 490, 496 (8th

Cir. 2006).      “We look at whether the impropriety of the

misconduct was obvious or whether the official knew that his

conduct was improper but engaged in it anyway and whether the

misconduct was committed in the hopes that something might turn

up.”     United States v. Faulkner, 636 F.3d at 1016.

       Here the undisputed evidence is that Special Agent Kline

took defendant back into the house after placing him under arrest

because it was cold outside and defendant needed to get something


                                       9


       Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 9 of 16
warmer to put on before being transported to police headquarters.

Once defendant said there was “stuff” under the stairs and that

the officers could go get it, the bag of marijuana was retrieved

(while another officer looked for clothing for defendant to wear)

but no further search was conducted of the house.              Defendant was

not questioned.      There simply is no evidence that the agents

entered defendant’s residence in the hopes that “something might

turn up.”     Additionally, there is no evidence that any statement

or evidence was obtained as a direct result of an unlawful

invasion.     It was perfectly reasonable for Agent Kline to bring

defendant inside his house to get some warm clothing to put on.

       Blurting out a confession and the whereabouts of all illegal

possessions does not result in suppression of everything under

these circumstances despite no ill intent on the part of the

police -- this would shield criminal behavior without promoting

the purpose of the exclusionary rule.          I have found no legal

authority for using the exclusionary rule (or the fruits rule) in

such a way, and I decline to do so today.

IV.    SPONTANEOUS ADMISSION

       Defendant argues that his statement that he had “stuff”

under the basement stairs was involuntary and a result of

interrogation without having first been advised of his Miranda

rights.     Defendant’s argument is without merit.




                                      10


      Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 10 of 16
     In United States v. McGlothen, 556 F.3d 698 (8th Cir.),

cert. denied, 129 S. Ct. 2812 (2009), Kansas City, Missouri,

police officers executed a search warrant on McGlothen’s home

after making two controlled drug buys.       McGlothen was not there

at the time, but drove past the house during the search.

Officers then stopped McGlothen and brought him back to the

residence.    Sergeant Huth, the officer in charge of the search,

explained to McGlothen why officers were there, told McGlothen he

was under arrest, and began recording biographical information

for booking.   While obtaining the booking information, an officer

approached Sergeant Huth with a gun found in the home during the

search.   Sergeant Huth then explained to McGlothen that he would

also be charged with being a felon in possession of a firearm.

McGlothen stated that the gun was his and he bought it for

protection.    McGlothen moved to suppress that statement, but the

Eighth Circuit held that the officer’s words indicating that

McGlothen was to be charged with possession of a firearm were

statements of fact, not the functional equivalent of an

interrogation.   Because McGlothen was not being interrogated,

Miranda warnings were not required and the district court did not

err in denying the motion to suppress.       United States v.

McGlothen, 556 F.3d at 702.

     In United States v. Barnes, 195 F.3d 1027, 1029 (8th Cir.

1999), a defendant moved to suppress statements made after he


                                   11


   Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 11 of 16
invoked his right to counsel after which officers told him he was

going to be booked for possession of a firearm.               The defendant

responded by saying he “didn’t think so,” and officers asked what

he meant.    In response, the defendant made incriminating

statements.    The Eighth Circuit found the statements spontaneous,

holding that “the officer’s remark to [the defendant] that he was

going to be charged with possession of a firearm was a statement

of fact, not the functional equivalent of interrogation.”

      In this case, defendant’s statement about having “stuff”

under his basement steps was not the result of interrogation or

its functional equivalent; therefore, Miranda warnings were not

required.    There is no evidence whatsoever that defendant’s

statement was involuntary.       The scenario in defendant’s motion to

suppress is not supported by any evidence.          Defendant had an

opportunity at the suppression hearing to present evidence that

the morning happened the way he described in his motion;

defendant chose not to do so.       As a result, there is neither fact

nor law to support his claim that his statement was involuntary

or the result of any form of interrogation.           Instead, the only

evidence before me was presented by the government and

establishes that defendant’s statement was voluntary.

V.    STATEMENT MADE AT POLICE HEADQUARTERS

      As far as defendant’s statement given at police head-

quarters, he alleges as follows:


                                     12


     Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11    Page 12 of 16
     [Defendant] was transported to the police station and at
     approximately 8 A.M. the same morning, [defendant] waived
     his Miranda rights and submitted to an unrecorded interview
     by SA Kline and Det. Swoboda [sic]. [Defendant’s]
     recollection of the contents and substance of the interview
     are [sic] substantially different from that reported by SA
     Kline. . . .

     [T]he interrogation was coercive in and of itself and a
     continuation of the coercive treatment he experienced
     throughout, starting at 6 A.M. that morning. In the
     totality of the circumstances, [defendant’s] statements
     cannot be considered “voluntary,” but instead statements
     made after his will had been overborne.

     Once again, defendant made allegations in his motion but

chose not to introduce any such evidence during the suppression

hearing to contradict the evidence presented by the government.

The undisputed evidence is that defendant was presented with a

Miranda waiver form, it was read to him, he read it aloud, he

signed the form, and then he gave a statement which was

incriminating.

     The government bears the burden of proving by a preponder-

ance of the evidence that defendant made a knowing and voluntary

waiver of his Miranda rights.     Colorado v. Connelly, 479 U.S.

157, 158 (1986); United States v. Dougherty, 810 F.2d 763, 772

(8th Cir. 1987).   There is no requirement that, to be voluntary,

the waiver be the product of a free will.        Colorado v. Connelly,

479 U.S. at 170.   The sole concern of the Fifth Amendment, upon

which Miranda was based, is governmental coercion.            Id.; United

States v. Washington, 431 U.S. 181, 187 (1977).             The

voluntariness of a waiver of this privilege depends on the

                                   13


   Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11    Page 13 of 16
absence of police overreaching, i.e., the relinquishment of the

right must have been voluntary in the sense that it was the

product of a free and deliberate choice rather than intimidation,

coercion or deception.      Colorado v. Connelly, 479 U.S. at 170;

Moran v. Burbine, 475 U.S. 412, 420 (1986); Fare v. C., 442 U.S.

707, 726-27 (1979).

     An explicit statement of waiver is not invariably necessary

to support a finding that the defendant waived his Miranda

rights.   North Carolina v. Butler, 441 U.S. 369 (1979).           An

express written or oral statement of waiver of Miranda rights is

usually strong proof of the validity of that waiver, but is not

inevitably either necessary or sufficient to establish waiver.

Id. at 373.

     The question is not one of form, but rather whether the
     defendant in fact knowingly and voluntarily waived his
     rights delineated in the Miranda case. As was unequivocally
     said in Miranda, mere silence is not enough. That doesn’t
     mean that the defendant’s silence, coupled with an
     understanding of his rights and course of conduct indicating
     waiver, may never support a conclusion that a defendant has
     waived his rights. . . . [I]n at least some cases waiver
     can be clearly inferred from the actions and words of the
     person interrogated.

Id. at 373.

     Whether a defendant waived his Miranda rights is a question

of fact for the trial judge and must be determined on the

particular facts and circumstances surrounding the case,

including the background, experience and conduct of the accused.

Id. at 374; United States v. Dougherty, 810 F.2d 763, 772 (8th

                                   14


   Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 14 of 16
Cir. 1987); Stumes v. Solem, 752 F.2d 317, 319 (8th Cir. 1985).

The totality of the circumstances test applies.                Dougherty, 810

F.2d at 773.

       In this case, defendant was advised of his Miranda rights,

he read the rights himself, and he signed the form waiving his

rights.     Special Agent Kline testified that defendant read his

Miranda rights, signed the Miranda waiver form, appeared to

understand his rights, and spoke to Special Agent Kline

voluntarily.     Once co-defendant Juan Marron was mentioned,

defendant asked for an attorney and the interview stopped.                 There

has been no credible evidence presented suggesting that

defendant’s statement was not voluntary.

VI.    CONCLUSION

       Based on the above-stated findings of fact and the law as

discussed in sections III through V, I conclude that defendant’s

constitutional rights were not violated during his contact with

law enforcement on November 19, 2010.          Therefore, it is

       RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to suppress evidence and his

statements.




                                      15


      Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11    Page 15 of 16
     Counsel are advised that, pursuant to 28 U.S.C. § 636(b)(1),

each has ten days from the date of this report and recommendation

to file and serve specific objections.




                                 ROBERT E. LARSEN
                                 United States Magistrate Judge

Kansas City, Missouri
September 19, 2011




                                   16


   Case 4:10-cr-00320-DGK   Document 333   Filed 09/19/11   Page 16 of 16
